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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

 

AMERICAN CABLE ASSOCIATION, Case No. 2:18-cv-02684
CTIA — THE WIRELESS ASSOCIATION,
NCTA — THE INTERNET & TELEVISION

ASSOCIATION, and USTELECOM — THE fPROPOSED}|LORDER
BROADBAND ASSOCIATION, on behalf of GRANTING PLAINTIFFS’
their members, REQUEST TO REDACT AND
FILE UNDER SEAL SPECIFIC
Plaintiffs, CONFIDENTIAL INFORMATION
Vv.

XAVIER BECERRA, in his official capacity
as Attorney General of California,

Defendant.

 

 

 

 

Plaintiffs have filed with the Court a Notice, a Request to Redact and File Under Seal
Specific Confidential Information, and the redacted and unredacted versions of the documents
containing the confidential information. Having considered Plaintiffs’ Request and having
examined the information in the documents, the Court concludes that the information regarding
anon-party originally disclosed, but now sought to be redacted, merits confidential treatment
pursuant to Local Rules 140 and 141. The Plaintiffs have established that the information is

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only “‘tangentially related, to the underlying cause of action,’” so the public’s interest in
accessing the material does not “not apply with equal force.” Pintos v. Pac. Creditors Ass’n,
605 F.3d 665, 678 (9th Cir. 2010) (quoting Kamakana v. City & Cty. of Honolulu, 447 F.3d
1172, 1179 (9th Cir. 2006)). “The Court finds that the information sought to be sealed by
Defendant implicates important privacy concerns of nonparties — whose names are not relevant

to the disposition of this case — that outweigh the public’s interest in disclosure of these

judicial records.” Hunt v. Cont’] Cas. Co., 2015 WL 5355398, at *2 (N.D. Cal. Sept. 14, 2015).

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[PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO REDACT AND FILE UNDER SEAL

 

 
 

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Accordingly, IT IS HEREBY ORDERED AS FOLLOWS:

1. The Clerk of the Court is directed to remove from the public docket the originally
filed Memorandum of Points and Authorities in Support of Plaintiffs’ Motion for
Preliminary Injunction (Dkt. 3-1) and Declaration of Joe Ruszkiewicz of AT&T in
Support of Plaintiffs’ Motion for Preliminary Injunction, submitted as Exhibit B in
support of Plaintiffs’ Motion for Preliminary Injunction (Dkt. 3-3) and to replace
them on the public docket with the redacted versions of those documents that
Plaintiffs provided to the Court.

2. The Associations are ordered to re-file the originally filed Memorandum and

Declaration under seal.

DATED: /o- 26° 2018

 

on. John A. Méndez 7”
UNITED STATES DISTRICT JUDGE

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[PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO REDACT AND FILE UNDER SEAL

 

 
